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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                              SOUTHEASTERN DIVISION

GEORGE F. ALDRIDGE, JR.,                      )
                                              )
              Plaintiff,                      )
                                              )
v.                                            )      Case No. 1:18-cv-00259-SNLJ
                                              )
NINA HILL,                                    )
                                              )
              Defendant.                      )

                             MEMORANDUM AND ORDER

       This matter comes before the Court on pro se plaintiff George Aldridge’s “motion

for subpoena and/or court order for compelling defendant’s witnesses to complete all of

plaintiff’s written depositions and interrogatories.” (ECF #39). That motion will be

DENIED.

       This case involves a Section 1983 complaint by plaintiff, an inmate at Eastern

Reception Diagnostic and Correctional Center, alleging defendant Nina Hill failed to

adequately treat several of his medical conditions including cardiovascular issues, an

enlarged prostate, osteoporosis, and chronic joint pain. See 42 U.S.C. § 1983. The

pending motion seeks to question “26 witnesses” through “interrogatories and written

deposition questions.” Those interrogatories and deposition questions were not attached

to plaintiff’s motion; so, they cannot be properly evaluated. In any event, interrogatories

cannot be directed to non-party witnesses. See FED. R. CIV. P. 33(a)(1) (limiting

interrogatories to those served “on any other party”); Maher v. Tennessee, 2019 WL

1339602 at *1 (W.D. Tenn. Mar. 25, 2019) (pro se plaintiff could not require non-party

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witnesses to respond to Rule 33 interrogatories). To the extent plaintiff is, instead,

invoking the machinery of Rule 30(c)(3), which allows a party to depose “any person”

through “written questions,” he has not demonstrated that he is capable (or willing) to

pay the associated costs—particularly of 26 depositions. See Stockdale v. Stockdale, 2009

WL 5103265 at *2 (E.D. Mo. Dec. 17, 2009) (denying motion for leave to depose witness

where plaintiff failed to show he was “willing or able to meet [the associated] costs”).

Among other things, Rule 30 requires a deposition to be taken before an officer who

places the witness under oath, records their responses, and makes a transcript or

recording available to the witness for review. FED. R. CIV. P. 33(b), (c). This recording

cost falls on plaintiff. FED. R. CIV. P. 33(b)(3)(A). Finally, because more than 10

depositions are being sought, leave is required (absent party stipulation) that requires this

Court to consider whether leave, if granted, would be “consistent with Rule 26(b)(1) and

(2).” FED. R. CIV. P. 33(a)(2), (a)(2)(A)(i). Rule 26(b)(1) requires discovery to be

“relevant” and “proportional.” FED. R. CIV. P. 26(b)(1). But, neither of those

requirements can be evaluated, here, where plaintiff has failed to attach his proposed

deposition questions—this Court is, thus, left in the dark and cannot meaningfully

evaluate the propriety of granting leave to plaintiff.

       Accordingly,

       IT IS HEREBY ORDERED that plaintiff George Aldridge’s “motion for

subpoena and/or court order for compelling defendant’s witnesses to complete all of

plaintiff’s written depositions and interrogatories” (ECF #39) is DENIED.



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     So ordered this 20th day of April 2020.




                                               STEPHEN N. LIMBAUGH, JR.
                                               UNITED STATES DISTRICT JUDGE




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